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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


  EAGLE PHARMACEUTICALS, INC.,

                        Plaintiff,               C.A. No. 24-65-JLH

                v.                               JURY TRIAL DEMANDED

  SLAYBACK PHARMA LLC,

                        Defendant.


                        PLAINTIFF’S UNOPPOSED MOTION FOR
                     LEAVE TO FILE SECOND AMENDED COMPLAINT

        Plaintiff Eagle Pharmaceuticals, Inc. (“Eagle”) respectfully moves the Court for leave to

 amend its First Amended Complaint pursuant to FEDERAL RULE OF CIVIL PROCEDURE 15(a). A

 copy of the proposed Second Amended Complaint is attached as Exhibit 1 and a blackline

 comparing the proposed Second Amended Complaint to the First Complaint is attached as

 Exhibit 2.

        Pursuant to D. Del. LR 7.1.1, Eagle informed Defendant of its intent to amend the

 complaint to add Eagle Sub1 LLC, a wholly owned subsidiary of Eagle Pharmaceuticals. Inc., and

 Azurity Pharmaceuticals, Inc., the parent company of Slayback Pharma LLC, as parties to this

 action. Defendant does not oppose Eagle’s motion.
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  Dated: June 9, 2025                       MCCARTER & ENGLISH, LLP

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